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                                   3                                 UNITED STATES DISTRICT COURT

                                   4                             NORTHERN DISTRICT OF CALIFORNIA

                                   5                                         SAN JOSE DIVISION

                                   6

                                   7     SCOTT JOHNSON,                                     Case No. 21-cv-01927-BLF
                                   8                    Plaintiff,
                                                                                            ORDER DISMISSING ADA CLAIM;
                                   9             v.                                         DECLINING SUPPLEMENTAL
                                                                                            JURISDICTION OVER UNRUH ACT
                                  10     OREN'S HUMMUS CUPERTINO LLC,                       CLAIM; CLOSING CASE
                                  11                    Defendant.                          [Re: ECF No. 39]
                                  12
Northern District of California
 United States District Court




                                  13          The Court held a case management conference in this case this morning. Based on the

                                  14   parties’ representations regarding their settlement of injunctive relief, the ADA claim is

                                  15   DISMISSED. The Court further DECLINES supplemental jurisdiction over the remaining Unruh

                                  16   Act claim, which is DISMISSED WITHOUT PREJUDICE, given the unique issues of state law

                                  17   implicated by the claim and the early stage of the litigation. See Arroyo v. Rosas, 19 F.4th 1202,

                                  18   1211–14 (9th Cir. 2021). The Clerk SHALL close the case.
                                  19          IT IS SO ORDERED.

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                                  21   Dated: August 11, 2022

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                                                                                        BETH LABSON FREEMAN
                                  23                                                    United States District Judge
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